      Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 1 of 23 PageID #:1



                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 WADE HAMMOND, individually,
 and on behalf of all others similarly
 situated,                                            JURY TRIAL DEMANDED

        Plaintiff,                                    CASE NO. 1:18-cv-02092

 v,

 ATLANTIC CREDIT & FINANCE, INC.,

        Defendant.


                              CLASS ACTION COMPLAINT

       NOW COMES Plaintiff WADE HAMMOND (“Plaintiff”), individually, and on behalf

of all others similarly situated, through attorney James C. Vlahakis, asserts a putative

Class Action Complaint against Defendant ATLANTIC CREDIT & FINANCE, INC.

(“Defendant”) for violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (“FDCPA”) and the Illinois Consumer Fraud and Deceptive Business Practices

Act, 815 ILCS 505/10a (“ICFA”) and in support states:

                        PARTIES, JURISDICTION AND VENUE

       1.     Plaintiff is an adult person residing in the Northern District of Illinois.

       2.     Plaintiff is a “consumer” as defined by § 1692a(3) of the FDCPA.

       3.     Plaintiff is a “person” as that term is defined and/or used within the ICFA.

       4.     Defendant is a Virginia corporation in the business of collecting consumer

debts on behalf of others within the State of Illinois and throughout the United States.

       5.     Defendant regularly uses the mail and/or the telephone to collect or

attempt to collect delinquent consumer accounts.




                                             1
      Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 2 of 23 PageID #:2



       6.     In the attached collection letter, Defendant identifies itself as a “debt

collector.”

       7.     Defendant is a “debt collector” as defined by § 1692a(6) of the FDCPA.

       8.     Defendant is a “person” as defined and/or used within the ICFA.

       9.     This civil action arises under and is brought pursuant to the FDCPA.

       10.    Subject matter jurisdiction is therefore conferred upon this Court by 15

U.S.C § 1692k and 28 U.S.C. §§ 1331, 1337, as the action arises under the laws of the

United States.

       11.    Supplemental jurisdiction for the ICFA claim by way of 28 U.S.C. § 1367.

       12.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as Defendant

transacts business in the Northern District of Illinois.

       13.    Additionally, the events and/or omissions giving rise to the claims made

herein occurred within the Northern District of Illinois.

        FACTUAL ALLEGATIONS RELATED TO NOVEMBER 3, 2017 LETTER

       14.    Defendant mailed a “PRE-LEGAL NOTIFICATION” letter to Plaintiff on

November 3, 2017. See Exhibit A (the “November 3rd Collection Letter”).

       15.    The November 3rd Collection Letter identifies Midland Funding LLC as the

“Current Owner” (hereinafter “Midland”).

       16.    The November 3rd Collection Letter identifies Defendant as the “Current

Servicer.”

       17.    The November 3rd Collection letter identifies COMENITY BANK TOTAL

REWARDS VISA CARD as the “Original Creditor.”

       18.    Near the top of the November 3rd Collection Letter is the phrase “PRE-

LEGAL NOTIFICATION” in bold and all caps.

       19.    The phrase “PRE-LEGAL NOTIFICATION” is typed in large font.


                                            2
     Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 3 of 23 PageID #:3



       20.    The phrase “PRE-LEGAL NOTIFICATION” is typed in the largest font of

any words on the face of the letter, other than “Atlantic.”

       21.    Just above the phrase “PRE-LEGAL NOTIFICATION”, the November 3rd

Collection Letter includes a box which states “Reply by calling our office at: 800-888-

9419 by 11/10/2017.”

       22.    November 3, 2017, was a Friday.

       23.    November 10, 2017, was a Friday and a holiday, Veterans Day (observed

by the United States Post Office on Saturday, November 11, 2017).

       24.    The second sentence of the November 3rd Collection Letter said, “[t]his

letter is to inform you that Midland Funding, LLC is considering forwarding this account

to an attorney in your state for possible litigation.”

       25.    The third sentence of the November 3rd Collection Letter said, “[u]pon

receipt of this notice, please call 800-888-9419 to discuss your options.”

       26.    The fourth sentence of the November 3rd Collection Letter said, “[i]f we don’t

hear from you or receive payment, Midland Funding, LLC may proceed with forwarding

this account to an attorney.”

       27.    The November 3rd Collection Letter violates the FDCPA because the above

quoted language invokes a false sense of urgency regarding threatened litigation.

       28.    The November 3rd Collection Letter demanded immediate payment from

Plaintiff and threatened Plaintiff with imminent legal action if Plaintiff did not pay.

       29.    The time-frame set forth by the November 3rd Collection Letter gave

Plaintiff no more than five (5) business days to respond to Defendant’s “PRE-LEGAL

NOTIFICATION”, assuming, for the sake of argument only (and not as a factual

allegation), that Plaintiff received the letter on Monday, November 6, 2017.




                                             3
      Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 4 of 23 PageID #:4



       30.    Given publicized delays in Chicagoland based mail, and the Veterans Day

holiday, it is plausible that the November 3rd Collection Letter did not arrive on Monday,

November 6, 2017.1

       31.    The time-frame set forth by Defendant’s “PRE-LEGAL NOTIFICATION”

and so-called “one time repayment amount” was abusive, unfair, unconscionable

oppressive and harassing in nature.

       32.    The short time-frame set forth by Defendant’s so-called “PRE-LEGAL

NOTIFICATION” and so-called “one time repayment amount” was calculated with the

intention of being was abusive, unfair, unconscionable oppressive and/or harassing in

nature to consumers so as to induce consumers to comply with Defendant’s so-called

“one time repayment amount.”

       33.    Plaintiff was materially misled by Defendant’s November 3rd Collection

Letter because the letter plausibly threatened real and/or immediate legal action against

Plaintiff.

       34.    The November 3rd Collection Letter, on its face, and under the time period

of its mailing, also created a false sense of urgency relative to “a one time repayment

amount of $9,522.35 to be due on 11/10/2017.”

       35.    Notwithstanding the inclusion of the phrase, “[w]e are not obligated to

renew this offer,” the November 3rd Collection Letter’s “one time repayment amount”,

coupled with a false threat of “litigation”, language urging Plaintiff to call Defendant

“[u]pon receipt of this notice”, a “[r]eply by” date of 11/10/2017, and a repayment “due




1
 The New York Times documented how the U.S. Postal Service took almost three weeks to deliver
a certified letter from New York City to Chicago in the fall of 2017. See,
https://www.nytimes.com/2017/11/10/nyregion/post-office-mail-delays-daca-
applications.html


                                             4
     Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 5 of 23 PageID #:5



on” date of 11/10/2017, constitutes the creation of a false sense of urgency relative to

the “one time repayment amount.”

       36.    Plaintiff was materially misled by Defendant’s November 3rd Collection

Letter because the letter plausibly created a false sense of urgency relative to the “one

time repayment amount.”

       37.    While exhorting Plaintiff to make one of two payment options, the

November 3rd Collection Letter states “[o]nce you have completely fulfilled one of the

above payment arrangements you will be released of the obligation.”

       38.    The word “obligation” is not referenced in any portion of the November 3rd

Collection Letter.

       39.    Because Defendant provided two payment options, one for the full amount

and one for a partial amount, it is plausible that the phrase “you will be released of the

obligation” would confuse unsophisticated consumers like Plaintiff.

       40.    The use of the word “obligation” in the November 3rd Collection Letter fails

to explain to an unsophisticated consumer what will happen to the remainder of the

debt if an unsophisticated consumer paid the “one time repayment amount.”

       41.    For example, it is plausible for an unsophisticated consumer to question

whether the remainder of the debt would be sold to another creditor.

       42.    Equally plausible is the belief than another debt collector could attempt to

collect the remainder of the debt.

       43.    Plaintiff was materially misled by Defendant’s November 3rd Collection

Letter because the phrase “[o]nce you have completely fulfilled one of the above payment

arrangements you will be released of the obligation” was confusing.

       44.    As a result of the resultant confusion, anxiety, physical stress and mental

distress caused by the November 3rd Collection Letter, Plaintiff sought legal assistance


                                            5
     Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 6 of 23 PageID #:6



from Atlas Consumer Law to determine Plaintiff’s rights under the law. In consulting

with counsel via telephone, email and in person, Plaintiff has been diverted from other

tasks and has incurred travel costs.

      FACTUAL ALLEGATIONS RELATED TO NOVEMBER 10, 2017 LETTER

      45.    Defendant mailed a collection letter to Plaintiff on November 10, 2017. See

Exhibit B (the “November 10th Collection Letter”).

      46.    In part, the November 10th Collection Letter listed a balance of $13,603.37.

      47.    The first sentence of the November 10th Collection Letter said, “Atlantic

Credit & Finance would like to offer you the following arrangement in order to resolve

your account:” and the second sentence said, “[p]lease see reverse side for payment

arrangement.”

      48.    The reverse side of the November 10th Collection Letter said, “…your

payment schedule will be as follows: . . . This arrangement contains 119 payments

totaling $13,603.37 to be paid between 11/15/17 and 09/15/27.”

      49.    November 10, 2017, was a Friday, Veterans Day.

      50.    November 15, 2017, the first purported payment date, was a Wednesday.

      51.    The time-frame set forth by the November 10th Collection Letter gave

Plaintiff no more than three (3) business days to dispute the so-called “arrangement” or

agree to the so-called “arrangement” by submitting a payment by the stated due date,

assuming, for the sake of argument only (and not factual allegation), that Plaintiff

received the letter on Monday, November 13, 2017.

      52.    Given reported delays in Chicagoland based mail (see footnote 1), and the

observance of Veterans Day, it is plausible that the November 10th Collection Letter did

not arrive on Monday, November 13, 2017.




                                           6
     Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 7 of 23 PageID #:7



       53.     The time-frame set forth by Defendant’s so-called “arrangement” was

abusive, unfair, unconscionable, oppressive and harassing in nature.

       54.     The short time-frame set forth by Defendant’s so-called “arrangement” was

calculated with the intention of being abusive, unfair, unconscionable, oppressive

and/or harassing to consumers so as to induce consumers to comply with Defendant’s

so-called “arrangement.”

       55.     The third sentence of the November 10th Collection Letter said, “[o]nce you

have completely fulfilled your payment arrangement you will be released of the

obligation.”

       56.     The fourth sentence of the November 10th Collection Letter said, “[i]f this

is not what you agreed to, please call your representative right away at 1-800-888-9419

to discuss the best possible alternative.” (Emphasis supplied).

       57.     Plaintiff never “agreed” to the so-called “arrangement.”

       58.     The manner in which the so-called “arrangement” is identified on the

November 10th Collection Letter is false and misleading because it suggests that Plaintiff

had a discussion with a collection agent employed by Defendant when, in fact, Plaintiff

never spoke with a collection agent and never “agreed” to the so-called “arrangement.”

       59.     The conclusion of the November 10th Collection Letter lists office hours of

“8:30 A.M. to 9 P.M. EST MONDAY – WEDNESDAY, 8:30 A.M. to 5:30 P.M. EST

THURSDAY AND 9 A.M. TO 5 P.M. ON FRIDAY.”

       60.     Plaintiff resides in the Central Time Zone.

       61.     For a person living in the Central Time Zone, Defendant’s office hours

would be: 7:30 A.M. to 8 P.M. CST MONDAY – WEDNESDAY, 7:30 A.M. to 4:30 P.M.

CST THURSDAY AND 8 A.M. TO 4 P.M. ON FRIDAY.”




                                             7
     Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 8 of 23 PageID #:8



      62.    The manner in which the so-called “arrangement” is identified on the

November 10th Collection Letter and the time-frame in which to contact Defendant “right

away” to dispute having “agreed” to the so-called “arrangement” is abusive, unfair,

unconscionable, oppressive and/or harassing because the time-frame to dispute the

short, less than five (5) business days, assuming for the sake of argument only (and not

as a factual allegation), that the letter was received by Plaintiff on Monday, November

13, 2017.

      63.    The manner in which the so-called “arrangement” is identified on the

November 10th Collection Letter and the time-frame in which to contact Defendant “right

away” to dispute having “agreed” to the so-called “arrangement” is abusive, unfair,

unconscionable, oppressive and/or harassing.

      64.    It was also abusive, unfair, unconscionable, oppressive and/or harassing

for Defendant to send out this form letter, which falsely referenced a purported

“arrangement”, where Defendant does not provide a manner for consumers to dispute

the so-called “arrangement” other than the time periods identified above.

      65.    The above time-periods discriminate against consumers who are unable to

place calls during traditional “9 to 5” working hours.

      66.    The above time-periods discriminate against consumers who sleep during

the day because they work “third-shift.”

      67.    Further, the November 10th Collection Letter does not identify an email-

based method of contact.

      68.    As a result of the so-called “agreement” contained the November 10th

Collection Letter, and the resultant confusion, anxiety, physical stress and mental

distress caused by the short time-frame to dispute the so-called “agreement”, Plaintiff

sought legal assistance from Atlas Consumer Law to determine Plaintiff’s rights under


                                            8
     Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 9 of 23 PageID #:9



the law. In consulting with counsel via telephone, email and in person, Plaintiff has been

diverted from other tasks and has incurred travel costs.

      FACTUAL ALLEGATIONS RELATED TO NOVEMBER 14, 2017 LETTER

       69.    Defendant mailed a collection letter to Plaintiff on November 14, 2017. See

Exhibit C (the “November 14th Collection Letter”).

       70.    In part, the November 14th Collection Letter listed a balance of $13,603.37.

       71.    The first sentence of the November 14th Collection Letter said, “[t]his letter

is to once again information you that the above referenced account has been placed with

Atlantic Credit & Finance”; and the second sentence said, “[w]e would like to offer you

the arrangement listed on the reverse side of this letter in order to resolve your account.”

       72.    The reverse side of the November 14th Collection Letter said “[w]e would

like to offer the following payment arrangement: . . . This arrangement contains 100

payments totaling $10,822.70 to be paid between 11/14/17 and 02/28/26.”

       73.    November 14, 2017, was a Tuesday.

       74.    November 14, 2017, was the first purported payment date, the same date

as the November 14th Collection Letter.

       75.    The fourth sentence of the November 14th Collection Letter said, “[i]f this

is not what you agreed to, please call your representative right away at 1-800-888-9419

to discuss the best possible alternative.” (Emphasis supplied).

       76.    The time-frame set forth by the November 14th Collection Letter gave

Plaintiff no time to dispute the so-called “arrangement” or agree to the so-called

“arrangement” by submitting a payment by the stated due date.

       77.    It is implausible that the November 14th Collection Letter was sent and

received on the same date - November 14, 2017.

       78.    November 14, 2017, was a Tuesday.


                                             9
    Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 10 of 23 PageID #:10



       79.     Given reported delays in Chicagoland based mail (see footnote 1), it is

plausible that the November 14th Collection Letter could have been delivered on or about

Friday, November 17, 2017 or on or about Monday, November 20, 2017.

       80.     Both dates are after the deadline for the first payment of the so-called

“arrangement.”

       81.     The time-frame to comply with the so-called “arrangement” set forth in the

November 14th Collection Letter was abusive, unfair, unconscionable, oppressive and

harassing in nature.

       82.     The short time-frame set forth by Defendant’s so-called “arrangement” was

calculated with the intention of being abusive, unfair, unconscionable, oppressive

and/or harassing to consumers so as to induce consumers to comply with Defendant’s

so-called “arrangement.”

       83.     The third sentence of the November 10th Collection Letter said, “[o]nce you

have completely fulfilled your payment arrangement you will be released of the

obligation.”

       84.     The fourth sentence of the November 14th Collection Letter said, “[i]f this

is not what you agreed to, please call your representative right away at 1-800-888-9419

to discuss the best possible alternative.”

       85.     Plaintiff never “agreed” to the so-called “arrangement.”

       86.     The manner in which the so-called “arrangement” is identified on the

November 14th Collection Letter is false and misleading because it suggests that Plaintiff

had a discussion with a collection agent employed by Defendant when, in fact, Plaintiff

never spoke with a collection agent and “agreed” to the so-called “arrangement.”




                                             10
    Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 11 of 23 PageID #:11



      87.    The conclusion of the November 14th Collection Letter lists office hours of

“8:30 A.M. to 9 P.M. EST MONDAY – WEDNESDAY, 8:30 A.M. to 5:30 P.M. EST

THURSDAY AND 9 A.M. TO 5 P.M. ON FRIDAY.”

      88.    Plaintiff resides in the Central Time Zone.

      89.    For a person living in the Central Time Zone, Defendant’s office hours

would be: 7:30 A.M. to 8 P.M. CST MONDAY – WEDNESDAY, 7:30 A.M. to 4:30 P.M.

CST THURSDAY AND 8 A.M. TO 4 P.M. ON FRIDAY.”

      90.    The manner in which the so-called “arrangement” is identified on the

November 14th Collection Letter and the time-frame in which to contact Defendant “right

away” to dispute having “agreed” to the so-called “arrangement” is abusive, unfair,

unconscionable, oppressive and/or harassing.

      91.    It was also abusive, unfair, unconscionable, oppressive and/or harassing

for Defendant to send out this form letter, which falsely referenced a purported

“arrangement”, where Defendant does not provide a manner for consumers to dispute

the so-called “arrangement” other than the time periods identified above.

      92.    The above time-periods discriminate against consumers who are unable to

place calls during traditional “9 to 5” working hours.

      93.    The above time-periods discriminate against consumers who sleep during

the day because they work “third-shift.”

      94.    Further, the November 14th Collection Letter does not identify an email-

based method of contact.

      95.    As a result of the so-called “agreement” contained the November 14th

Collection Letter, and the resultant confusion, anxiety, physical stress and mental

distress caused by the short time-frame to dispute the so-called “agreement”, Plaintiff

sought legal assistance from Atlas Consumer Law to determine Plaintiff’s rights under


                                           11
    Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 12 of 23 PageID #:12



the law. In consulting with counsel via telephone, email and in person, Plaintiff has

been diverted from other tasks and has incurred travel costs.

                                         COUNT I

Individual Claims for Violations Sections 1692d, e, e(5), e(10) and f of the FDCPA

      96.      Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

      97.      Section 1692d of FDCPA states, in relevant part: “[a] debt collector may not

engage in any conduct the natural consequences of which is to harass, oppress, or

abuse any person in connection with the collection of any debt.”

      98.      Section 1692e of FDCPA states, in relevant part: “[a] debt collector may not

use any false, deceptive, or misleading representation or means in connection with the

collection of any debt. Without limiting the general application of the foregoing, the

following conduct is a violation of Section 1692e of FDCPA:

            a. Defendant purposefully drafted the November 3, 2017 letter in such a way

               as to threaten legal action if Plaintiff did not contact Defendant and/or pay

               the one-time repayment amount within five business days, which neither

               Defendant nor Midland intended to take in November of 2017.

            b. Defendant’s November 10th and November 14th Collection Letters, with the

               delivery dates and short timing deadlines, were purposefully drafted to

               falsely indicate that a payment arrangement had been agreed to between

               Defendant and Plaintiff, which constituted a false and deceptive

               representation and means of attempting to collect the subject debt.

      99.      Section 1692e(5) of FDCPA prohibits a debt collector from “threat[ening] to

take any action that cannot legally be taken or that is not intended to be taken.”




                                             12
    Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 13 of 23 PageID #:13



       100.   Section 1692e(5) is designed to prevent "empty threats of litigation as a

means of scaring the debtor into payment." Jenkins v. Union Corp., 999 F. Supp. 1120

(N.D. Ill. 1998).

       101.   The court in Samples v. Midland Credit Mgmt., 2012 U.S.Dist. LEXIS

91865 (Md. Tenn. July 2, 2012) reviewed language similar to the complained of language

in the November 3rd Collection Letter and denied a motion to dismiss and FDCPA claim

brought pursuant to Section 1692e(5)

       102.   According to the court:

              Having examined the language of MCM Collection Letter, the court
              finds that, although it is a close question, the letter could be subject
              to more than one reasonable interpretation for purposes of §
              1692e(5). The letter invokes the possibility of forwarding the matter
              to an attorney several times, presumably in an effort to encourage
              Samples to pay the alleged debt promptly. The letter states that
              MCM itself is "considering forward this account to an attorney in
              your state for possible litigation," which reasonably could be
              susceptible to a belief by the least sophisticated consumer that the
              letter threatens legal proceedings in the event of non-payment
              within the 30-day window set forth therein.

                                        ***

              This court's interpretation is consistent with the reasoning of the
              Sixth Circuit decision in Kistner, the Third Circuit decision in
              Brown that the Sixth Circuit cited approvingly in Kistner, and the
              FTC Staff Commentary, which the court finds persuasive under the
              circumstances presented here. See also Rivera v. Amalgamated
              Debt Collection Servs., Inc., 462 F. Supp. 2d 1223, 1230 (S.D. Fla.
              2006) [*42] (rejecting defendant's argument that use of term
              "consider" in challenged language showed that legal action was not
              imminent, because, "where parties reasonably disagree about the
              language in debt collection letters, the trier of fact must resolve the
              disagreement rather than the court") (citing Jeter v. Credit Bureau,
              Inc., 760 F.2d 1168, 1175 (11th Cir. 1985)).

              Thus, interpreting the alleged facts in the light most favorable to
              MCM, the court finds that the MCM Collection Letter could be
              subject to more than one reasonable interpretation, including a
              threat of potential legal action, which could constitute a violation of
              § 1692e(5), if the defendants did not actually intend to take that
              threatened action.


                                              13
    Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 14 of 23 PageID #:14



Samples, 2012 U.S.Dist. LEXIS 91865 at *41-*42.

       103.   Section 1692e(10) of FDCPA prohibits a debt collector from “us[ing] any

false representation or deceptive means to collect or attempt to collect any debt or to

obtain information concerning a consumer.”

       104.   Section 1692f of the FDCPA states that a “debt collector may not use unfair

or unconscionable means to collect or attempt to collect any debt.”

       105.   As an experienced debt collector, Defendant knows that its representations

to consumers concerning their rights under the FDCPA are required to be truthful,

complete and accurate, and disclosed without any intent to mislead or deceive.

       106.   As set forth above, in relation to the November 3rd Collection Letter,

Defendant violated §§ 1692d, e, e(5), e(10) and f by sending the Collection Letter, “Pre-

Legal Notification,” to Plaintiff which can be plausibly read to falsely threaten legal action

if Plaintiff did not pay the Subject Debt.

       107.   Defendant’s November 3rd Collection Letter constitutes an abusive,

deceptive and unfair means in connection with its collection of the Subject Debt.

       108.   As an experienced debt collection agency, Defendant knows that threats

of legal action are taken serious by a majority of consumers.

       109.   Defendant violated §§ 1692e, e(5), e(10) and f of the FDCPA by threatening

legal actions that it did not intend to take.

       110.   Knowing this, Defendant purposefully chose to draft the letter in such a

way as to threaten legal action which neither Defendant nor Midland intended to take

in November of 2017.

       111.   In doing so, Defendant used unfair, false, deceptive and misleading

representations in connection with its collection efforts of the Subject Debt.

       112.   To date, Defendant and Midland have not filed suit.


                                             14
    Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 15 of 23 PageID #:15



      113.   If Midland files suit after this civil action is filed, its motives will be

questionable.

      114.   The November 10th and November 14th Collection Letters violated § 1692d

of the FDCPA because as set forth above, the delivery dates, short timing deadlines and

wording of these letters (which falsely indicated that a payment arrangement had been

agreed to between Defendant and Plaintiff) constituted conduct that was harassing,

oppressive and/or abusive.

      115.   The November 10th and November 14th Collection Letters violated §§ 1692e

and e(10) of the FDCPA because as set forth above, the delivery dates, short timing

deadlines and wording of these letters (which falsely indicated that a payment

arrangement had been agreed to between Defendant and Plaintiff) constituted a false

and deceptive representation and means of attempting to collect the subject debt.

      116.   The November 10th and November 14th Collection Letters violated § 1692f

of the FDCPA because as set forth above, the delivery dates, short timing deadlines and

wording of these letters (which falsely indicated that a payment arrangement had been

agreed to between Defendant and Plaintiff) constituted unfair and/or unconscionable

means of attempting to collect the subject debt.

      117.   Pursuant to 15 U.S.C. § 1692k, Plaintiff is entitled to statutory damages,

attorneys’ fees and costs.

      WHEREFORE, Plaintiff, individually, requests that this Honorable Court:

      a. Declare that the Collection Letter violates the FDCPA;

      b. Enjoin Defendant from sending collection letters which contain the subject

          language;

      c. Award each class member up to $1,000 in statutory damages;




                                          15
    Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 16 of 23 PageID #:16



       d. Award Plaintiff costs and reasonable attorney fees as provided under 15

          U.S.C. §1692k; and

       e. Award Plaintiff any other relief this Honorable Court deems equitable and just.

                                        COUNT II

    Class Based Claims for Violations 1692d, e, e(5), e(10) and f of the FDCPA

       118.   Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       119.   Defendant sent the subject Collection Letters to more than 40 consumers

living in the United States.

       120.   As set forth in the preceding Count, the subject Collection Letters violate

Sections 1692d, 1692e(5), 1692e(10)and 1692f the FDCPA.

       121.   Pursuant to 15 U.S.C. § 1692k, Plaintiff and the Class are entitled to

statutory damages, attorneys’ fees and costs.

       122.   The proposed class consists of all consumers who, one year prior to the

filing of this civil action, were sent letters by Defendant that are substantially familiar

to the subject Collection Letters.

       WHEREFORE, Plaintiff, individually and on behalf of a proposed nationwide class

       of consumers, requests that this Honorable Court:

       a. Declare that the Collection Letter violates the FDCPA;

       b. Enjoin Defendant from sending collection letters which contain the subject

          language;

       c. Award each class member up to $1,000 in statutory damages;

       d. Award Plaintiff costs and reasonable attorney fees as provided under 15

          U.S.C. §1692k;




                                            16
    Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 17 of 23 PageID #:17



      e. Require Defendant to return any funds paid by class members who responded

          with payments after receiving the Collection Letter and/or the Collection

          Envelope; and

      f. Award Plaintiff and the proposed class member any other relief this Honorable

          Court deems equitable and just.

                                       COUNT III

                        Individual Claims for Violations ICFA

      123.   Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

      124.   Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

      125.   Defendant’s collection activity on the Subject Debt constitutes “conduct of

any trade or commerce” as that phrase is defined and/or used within the ICFA.

      126.   The ICFA states, in relevant part: “Unfair methods of competition and

unfair or deceptive acts or practices, including but not limited to the use or employment

of any deception, fraud, false pretense, false promise, misrepresentation or the

concealment, suppression or omission of any material fact, with intent that others rely

upon the concealment, suppression or omission of such material fact . . . in the conduct

of any trade or commerce are hereby declared unlawful whether any person has in fact

been misled, deceived or damaged thereby.” 815 ILCS 505/2.

      127.   “Any person who suffers actual damage as a result of a violation of this

Act committed by any other person may bring an action against such person. The court,

in its discretion may award actual economic damages or any other relief which the court

deems proper.” 815 ILCS 505/10a.




                                           17
    Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 18 of 23 PageID #:18



      128.   Defendant violated the ICFA, namely 815 ILCS 505/2, by engaging in

unfair, abusive, and deceptive conduct in its transactions with Plaintiff by, threatening

Plaintiff with imminent legal action for non-payment which neither Defendant nor

Midland presently intended to take.

      129.   Defendant intended that Plaintiff rely on its deceptive communications in

order to procure immediate payment of the Subject Debt.

      130.   Plaintiff has been required to obtain the services of legal counsel to

understand Plaintiff’s rights under the law, and thus, Plaintiff has been harmed and

has suffered damages as a result of Defendant’s unlawful collection practices as

described herein.

      131.   Plaintiff is therefore entitled to relief pursuant to 815 ILCS 505/10a.

      132.   Defendant’s actions as set forth in this complaint were malicious, willful

and/or undertaken with such reckless disregard of Plaintiff’s rights that malice may be

inferred, subjecting Defendant to liability for punitive damages under the ICFA in such

an amount to be proved at trial.

      WHEREFORE, Plaintiff, individually, respectfully requests that this Court enter

judgment in her favor as follows:

      a. Award Plaintiff actual damages, in such amounts as determined by the jury,

          as provided under 15 U.S.C. § 1692k and 815 ILCS 505/10a;

      b. Award Plaintiff statutory damages in the amount of $1,000.00, as provided

          under 15 U.S.C. § 1692k(a)(2)(A);

      c. Award Plaintiff punitive damages, in such amounts as determined by the jury,

          as provided under 815 ILCS 505/10a;

      d. Award Plaintiff the costs of this action and reasonable attorneys’ fees, as

          provided under 15 U.S.C. § 1692k(a)(3) and 815 ILCS 505/10a; and


                                           18
    Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 19 of 23 PageID #:19



      e. Award Plaintiff such other and further relief as may be just and proper.

                                       COUNT IV

                   Class Action Based Claims for Violations ICFA

      133.   Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

      134.   Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

      135.   Defendant’s collection activity on the Subject Debt constitutes “conduct of

any trade or commerce” as that phrase is defined and/or used within the ICFA.

      136.   The ICFA states, in relevant part: “Unfair methods of competition and

unfair or deceptive acts or practices, including but not limited to the use or employment

of any deception, fraud, false pretense, false promise, misrepresentation or the

concealment, suppression or omission of any material fact, with intent that others rely

upon the concealment, suppression or omission of such material fact . . . in the conduct

of any trade or commerce are hereby declared unlawful whether any person has in fact

been misled, deceived or damaged thereby.” 815 ILCS 505/2.

      137.   “Any person who suffers actual damage as a result of a violation of this

Act committed by any other person may bring an action against such person. The court,

in its discretion may award actual economic damages or any other relief which the court

deems proper.” 815 ILCS 505/10a.

      138.   Defendant violated the ICFA, namely 815 ILCS 505/2, by engaging in

unfair, abusive, and deceptive conduct in its transactions with Plaintiff by, threatening

Plaintiff with imminent legal action for non-payment which neither Defendant nor

Midland presently intended to take.




                                           19
    Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 20 of 23 PageID #:20



      139.   Defendant intended that Plaintiff rely on its deceptive communications in

order to procure immediate payment of the Subject Debt.

      140.   Plaintiff has been required to obtain the services of legal counsel to

understand Plaintiff’s rights under the law, and thus, Plaintiff has been harmed and

has suffered damages as a result of Defendant’s unlawful collection practices as

described herein.

      141.   Plaintiff is therefore entitled to relief pursuant to 815 ILCS 505/10a.

      142.   Defendant’s actions as set forth in this complaint were malicious, willful

and/or undertaken with such reckless disregard of Plaintiff’s rights that malice may be

inferred, subjecting Defendant to liability for punitive damages under the ICFA in such

an amount to be proved at trial.

      WHEREFORE, Plaintiff, individually, respectfully requests that this Court enter

judgment in her favor as follows:

      a. Award Plaintiff actual damages, in such amounts as determined by the jury,

          as provided under 15 U.S.C. § 1692k and 815 ILCS 505/10a;

      b. Award Plaintiff statutory damages in the amount of $1,000.00, as provided

          under 15 U.S.C. § 1692k(a)(2)(A);

      c. Award Plaintiff punitive damages, in such amounts as determined by the jury,

          as provided under 815 ILCS 505/10a;

      d. Award Plaintiff the costs of this action and reasonable attorneys’ fees, as

          provided under 15 U.S.C. § 1692k(a)(3) and 815 ILCS 505/10a; and

      e. Award Plaintiff such other and further relief as may be just and proper.

                      THE ELEMENTS OF FRCP 23 ARE MET

      143.   The putative class members can be administratively ascertained from

business records maintained by Defendant. See, e.g., In re Community Bank of Northern


                                          20
    Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 21 of 23 PageID #:21



Virginia Mortg. Lending Practices Litigation, 795 F.3d 380, 397 (3d Cir. 2015) (finding

that the Plaintiffs’ proposed class was ascertainable because the defendant "possesse[d]

all of the relevant bank records needed to identify the putative class members").

       144.   Excluded from the Classes is Defendant, its agents, subsidiaries, parents,

successors, predecessors, and any entity in which those parties, or their parents have

a controlling interest, and those entities’ current and former employees, officers, and

directors, (2) the Judge to whom this case is assigned and the Judge’s immediate family

and staff, (3) any person who executes and files a timely request for exclusion from the

Class, (4) any persons who have had their claims in this matter finally adjudicated

and/or otherwise released; and (5) the legal representatives, successors and assigns of

any such excluded, adjudicated and/or otherwise released person.

       145.   Numerosity is satisfied because Defendant mailed at least 40 of the

Subject Collection Letters to putative class members in the United States and Illinois.

       146.   Joinder of all members of the Class is impracticable.

       147.   The elements of is commonality and predominance are satisfied.

       148.   As to the TCPA based classes, commonality exists because Defendant(s)

acted in a common manner toward Plaintiff and the proposed class members through

the issuance of form Collection Letters to putative class members.

       149.   Plaintiff’s and the proposed class members’ claims all arise from the same

operative facts (the same Collection Letters) and the same causes of action.

       150.   A class action is an appropriate method for the fair and efficient

adjudication of this controversy, and superior to other available methods for the fair and

efficient adjudication of this controversy.

       151.   The common questions of law and fact enumerated above predominate

over questions affecting only individual Class members.


                                              21
    Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 22 of 23 PageID #:22



       152.   The likelihood that individual Class members will prosecute separate

actions is remote due to the extensive time and considerable expense necessary to

conduct such litigation, as well as the absence of a fee shifting mechanism.

       153.   The expense and burden of individual litigation would make it

impracticable for proposed Class members to prosecute their claims individually.

       154.   Class Counsel and Plaintiff will fairly, adequately and vigorously represent

and protect the interests of the proposed class members and has/have no interest

antagonistic to those of the Class.

       155.   There are no defenses unique to Plaintiff.

       156.   Plaintiff’s lead attorney (James C. Vlahakis) is an experienced consumer

class action litigator who has defended over a hundred consumer-based claims since

1998 and has litigated over four dozen TCPA based putative class actions.

       157.   In conjunction with class counsel, Mr. Vlahakis has obtained Court

approval of numerous TCPA class actions.         See, e.g., In Re Capital One Telephone

Consumer Protection Act Litigation, 2012-cv-10064 (N.D. Ill.) ($75 million dollar TCPA

based automated dialing system settlement); Prater v. Medicredit, Inc., 2014-cv-0159

($6.3 million dollar TCPA based automated dialing system wrong party settlement);

INSPE Associates v. CSL BIotherapries, Inc. (N.D. Ill.) ($3.5 million fax based settlement).

       158.   Additionally, Mr. Vlahakis (as a former consumer class action defense

attorney) has gained court approval of several FDCPA class actions.

       159.   Vlahakis’ co-counsel are experienced consumer rights attorneys.

       160.   FRCP 23(b)(2) provides that injunctive and declaratory relief are proper

where “the party opposing the class has acted or refused to act on grounds that apply

generally to the class.”




                                            22
      Case: 1:18-cv-02092 Document #: 1 Filed: 03/22/18 Page 23 of 23 PageID #:23



        161.   In summary, the above violations apply generally to the proposed classes.

Accordingly, for the above reasons, this Court should declare Defendant’s misconduct

unlawful and enjoin Defendant from further violating the FDCPA and ICFA.



        Plaintiff demands a jury trial



Respectfully submitted,

Plaintiff WADE HAMMOND individually
and on behalf of all others similarly situated,


By:    /s/James Vlahakis

James Vlahakis
SULAIMAN LAW GROUP, LTD.
2500 South Highland Avenue, Suite 200
Lombard, Illinois 60148
(630) 581-5456 telephone
jvlahakis@sulaimanlaw.com

Additional counsel
Ahmad T. Sulaiman ahmad.sulaiman@sulaimanlaw.com
Omar T. Sulaiman osulaiman@sulaimanlaw.com
Joseph Davidson jdavidson@sulaimanlaw.com




                                            23
